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 PROB 12C                                                                        Report Date: September 29, 2020
(6/16)
                                                                                                  FILED IN THE
                                       United States District Court                           U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON


                                                      for the
                                                                                         Sep 30, 2020
                                                                                             SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kristina Dawn Russette                  Case Number: 0980 1:16CR02006-EFS-11
 Address of Offender:                                  Spokane, Washington 99223
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: June 15, 2017
 Original Offense:        Conspiracy to Distribute Methamphetamine, 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii) and
                          846
 Original Sentence:       Prison - 30 Months;              Type of Supervision: Supervised Release
                          TSR - 36 Months
 Asst. U.S. Attorney:     Alison Gregoire                  Date Supervision Commenced: July 19, 2018
 Defense Attorney:        Amy H. Rubin                     Date Supervision Expires: July 18, 2021


                                         PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 02/28/2020, 03/13/2020, and 05/29/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            6           Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                        substance. You must submit to one drug test within 15 days of release from imprisonment
                        and at least two periodic drug tests thereafter, as determined by the Court.

                        Supporting Evidence: Ms. Kristina Russette is alleged to have violated mandatory condition
                        number 3 by ingesting methamphetamine on or about September 15, 2020, based on
                        urinalysis testing, as well as the client’s admission of such use.

                        On July 19, 2018, Ms. Russette signed her conditions relative to case number
                        1:16CR02006-EFS-11, indicating she understood all conditions as ordered by the Court.
                        Specifically, Ms. Russette was made aware by her U.S. probation officer that she was
                        required to refrain from using any illicit substances.

                        Specifically, on September 16, 2020, the undersigned officer received notification from
                        Pioneer Human Services in Spokane that the client had previously presented on September
                        15, 2020, to submit to random urinalysis testing as required following her assigned color
                        being called by the provider, at which time Ms. Russette provided a urinalysis sample that
                        reflected as presumptive positive for amphetamine, methamphetamine, Oxycodone and
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                    morphine. A drug use denial form was additionally received from the provider on the day in
                    question in which Ms. Russette marked the box denying any illegal use of a prohibited
                    substance.

                    On September 15, 2020, at 3:45 p.m., the undersigned officer received a text message from
                    the client in which she indicated her urinalysis test had come back “dirty” but that she had
                    not used. Ms. Russette further indicated she had signed a paper denying use and noted the
                    provider would be forwarding the sample to the contract laboratory for confirmation.

                    On September 24, 2020, the results relative to Ms. Russette’s amphetamine and
                    methamphetamine confirmation were received from the contract laboratory, ultimately
                    confirming the presence of both substances in the sample provided by Ms. Russette. On
                    September 25, 2020, telephonic contact was made with the client at which time the parties
                    discussed the laboratory report, as well as her current adjustment to supervised release at
                    length. Ms. Russette continued to deny use of any illicit substance since her previous
                    admitted use of methamphetamine occurring on or about September 2, 2020, and as
                    previously reported to the Court in the petition dated September 11, 2020. Ms. Russette was
                    given an opportunity to again contact the undersigned officer on Monday (September 28,
                    2020), and provide any additional information that she felt may be relevant.

                    On September 28, 2020, the undersigned officer placed a call to the client after receiving a
                    text message from the client on September 27, 2020, indicating she wanted access to
                    treatment services. During the telephone call, Ms. Russette admitted to ingesting
                    methamphetamine occurring on or about September 12, 2020. Ms. Russette denied any
                    subsequent use of any illicit substance, but did admit to using methamphetamine on three
                    separate occasions occurring over the last month, further indicating she often uses on a
                    Friday or Saturday when she suspects that she will be able to get “clean” before the week.

                    It should be noted that on September 24, 2020, Ms. Russette presented for random urinalysis
                    testing with the contract provider in Spokane, at which time the client submitted a urinalysis
                    sample for testing that reflected presumptive positive for methamphetamine. Ms. Russette
                    continues to deny any recent use of the substance and has indicated the sample will in fact
                    be confirmed as negative. In addition, it should be noted, on September 25, 2020, the
                    undersigned officer received a second lab confirmation from Alere Toxicology in which the
                    document confirmed the presence of Oxycodone and Oxymorphone as present in a sample
                    submitted by the client based on her assigned number identifier. Unfortunately, the report
                    also noted a collection date of September 17, 2020, a date which the client did not submit to
                    urinalysis testing, and in addition, misspelled the client’s name and noted the collector name
                    as being illegible. Due to these inconsistencies, this lab report is not being considered as a
                    part of the supporting evidence as outlined herein; however, the information remains of great
                    concern to the undersigned officer given the client’s past admitted addiction to prescription
                    pain medication.


          7         Standard Condition #8: You must not communicate or interact with someone you know is
                    engaged in criminal activity. If you know someone has been convicted of a felony, you must
                    not knowingly communicate or interact with that person without first getting the permission
                    of the probation officer.

                    Supporting Evidence: Ms. Kristina Russette is alleged to have violated standard condition
                    number 8 by having contact with Clayton Morsette, on or about September 20, 2020, a party
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                       known to her to be engaged in criminal activity based on received reports and the client’s
                       own admission of such contact.

                       On July 19, 2018, Ms. Russette signed her conditions relative to case number
                       1:16CR02006-EFS-11, indicating she understood all conditions as ordered by the Court.
                       Specifically, Ms. Russette was made aware by her U.S. probation officer that she was
                       required to refrain from having any contact with parties known to her to be engaged in
                       criminal activity or to have a felony record.

                       As the Court may recall, on May 21, 2020, Ms. Russette was contacted in her vehicle after
                       being stopped by law enforcement in Airway Heights, Washington. This conduct was
                       previously reported to the Court in the petition dated May 29, 2020. As a part of the contact,
                       Ms. Russette was determined by responding officers to have within the vehicle at the time
                       of the stop, an individual by the name of Clayton Morsette. On May 22, 2020, during a
                       telephone call with the undersigned officer, Ms. Russette herself admitted the presence of the
                       party to the undersigned officer during the stop and stated she was driving him to Northen
                       Quest Casino to drop him off. Ms. Russette noted she had previously dated the client, but
                       ceased contact after she learned he was in fact “using.” Ms. Russette admitted she should not
                       have again initiated contact with him, but advised she did not believe that he was still using.
                       Ms. Russette later indicated she learned he was in fact in possession of heroin at the time they
                       were stopped by law enforcement, and believed he had in fact been arrested for the offense.

                       Ms. Russette was directed to not have contact with the party given that the undersigned
                       officer believed both parties were likely facing new charges as a result of their conduct as
                       outlined by law enforcement. On September 20, 2020, the undersigned officer received an
                       automated notification indicating the client’s name had been run by law enforcement, and
                       on September 21, 2020, the investigating officer’s log was received by the undersigned
                       officer in which it was learned that it was in fact Clayton Morsette who had been stopped by
                       law enforcement while driving the client’s vehicle.

                       On September 25, 2020, Ms. Russette was contacted telephonically by the undersigned
                       officer, at which time she admitted to allowing Mr. Morsette to drive her vehicle after he
                       contacted her through Facebook Messenger, and verbalized a family emergency. Ms.
                       Russette noted he had traveled to her residence to get the vehicle, but stated that she
                       otherwise had not been in contact with him. Ms. Russette indicated she understood the
                       contact with the party to be that constituting contact with a person known to her to be
                       engaged in criminal activity based on her previous statements to the undersigned officer that
                       he was in possession of heroin and she believed him to have been arrested for said conduct
                       on the night they were previously contacted by law enforcement in Airway Heights,
                       Washington,

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.
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                                      I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:      September 29, 2020
                                                                         s/Chris Heinen
                                                                         Chris Heinen
                                                                         U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ X]     Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                         Signature of Judicial Officer

                                                                           September 30, 2020
                                                                         Date
